      Case 8-17-75759-las          Doc 20    Filed 12/06/17     Entered 12/06/17 10:10:08




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (Central Islip)
 In re:
                                         Chapter 7
 Victoria S White-Dingman
 aka Victoria S Dingman                  Case No. 17-75759-las
 aka Victoria S White
 aka Victoria Dingman

                         Debtor.




        AFFIRMATION IN OPPOSITION TO DEBTOR’S REQUEST FOR LOSS
                              MITIGATION

       Raquel Felix, Esq., an attorney duly admitted to practice law before the Court of the State

of New York, affirms the following under the penalty of perjury:

       1.        I am an associate of the firm of David A. Gallo & Associates, LLP, attorneys for

Creditor Shellpoint Mortgage Servicing as servicer for MTGLQ Investors, L.P. (hereinafter

“Shellpoint”), and as such I am fully familiar with the facts and circurmstances surrounding the

within matter.

       2.        This affirmation is in opposition to Debtor’s request for Loss Mitigation (ECF

docket #17) filed on November 27, 2017. Debtor filed opposition to Shellpoint’s Motion for

Relief from the Automatic Stay and requested to enter into Loss Mitigation.

       3.        Shellpoint hereby objects to Debtor’s request for Loss Mitigation, as the

contributor gross income total of $3,000.00 is insufficient for a loan modification. The current

reinstatement balance on the loan is $208,020.58. The loan is currently past due as of April 1,

2013 through present. The total amount of the payoff as of November 8, 2017 is $389,774.88.



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The current monthly mortgage payment is $3,911.90 (P&I $1,548.57 and Escrow $2,363.33),

with a current interest rate of 6.50000%.

       4.      31% percent of $3,000.00 would result in the Debtor affording a modified

payment of $930.00. Shellpoint would be unable to achieve this modified payment amount, as

Debtor’s escrow amount alone is over $2,000 a month and current escrow balance is $91,141.48.

A copy of the payoff and reinstatement figures are attached hereto as Exhibit A.

       5.      Assuming arguendo that Shellpoint can lower the interest rate to 4.25% for a

mortgage loan amount of $390,000.00 for 30 years, this would result in a monthly mortgage

payment of $1,918.57. The Debtor’s contributor income is still insufficient to afford this

hypothetical mortgage payment. The Debtor would not be successful in obtaining a loan

modification and it would be futile to proceed with the process, as she has insufficient income to

qualify for a loan modification. Accordingly, Shellpoint seeks an order denying Debtor’s request

for Loss Mitigation.



       WHEREFORE, Shellpoint prays that this Court issue an Order denying Debtor’s request

for Loss Mitigation and granting the following:

       1. For such other relief as the Court deems proper.

Dated: Nassau, New York
       December 6, 2017
                                                          David A. Gallo & Associates LLP
                                                          /s/ Raquel Felix
                                                          BY: Raquel Felix, Esq.
                                                          Attorneys for Secured Creditor
                                                          99 Powerhouse Road- First Floor
                                                          Roslyn Heights, NY 11577
                                                          (516) 583-5330

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 In re:
                                         Chapter 7
 Victoria S White-Dingman
 aka Victoria S Dingman                  Case No. 17-75759-las
 aka Victoria S White
 aka Victoria Dingman

                       Debtor.




                        CERTIFICATE OF SERVICE BY MAIL
                    STATE OF NEW YORK COUNTY OF NASSAU) SS.:

I, the undersigned, being duly sworn, say: I am not a party to the action, am over 18 years of age
and reside in Nassau County, in the State of New York.

On December 6, 2017, I served the within AFFIRMATION IN OPPOSITION TO DEBTOR’S
REQUEST FOR LOSS MITIGATION, by mailing a copy to each of following persons at the
last known address of the Parties listed on the attached service list.




                                             /s/ Catherine Galiano
                                             Catherine Galiano, Bankruptcy Paralegal
                                             David A. Gallo & Associates LLP
                                             Date: December 6, 2017


Sworn to before me this 6th day of December, 2017

/s/ Raquel Felix
Notary Public, State of New York
No. 01FE6056217
Qualified in Suffolk County
My Commission Expires on March 19, 2019




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                                  SERVICE LIST

                             Case No.: 17-75759-las

Debtor                                           Richard F Artura
Victoria S White-Dingman                         Phillips, Artura & Cox
113 Elder Road                                   165 South Wellwood Avenue
Islip, NY 11751                                  Lindenhurst, NY 11757

Trustee                                          U.S. Trustee
Marc A Pergament                                 United States Trustee
Weinberg Gross & Pergament                       Long Island Federal Courthouse
400 Garden City Plaza                            560 Federal Plaza - Room 560
Suite 403                                        Central Islip, NY 11722-4437
Garden City, NY 11530
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                      EXHIBIT A
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